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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND
                                   NORTHERN DIVISION


 In the Matter of the Petition

                 of

 GRACE OCEAN PRIVATE LIMITED, as
 Owner of the M/V DALI,
                                                      Docket No. __________
                        and
                                                      IN ADMIRALTY

 SYNERGY MARINE PTE LTD, as Manager
 of the M/V DALI,


 for Exoneration from or Limitation of
 Liability.


       NOTICE TO CLAIMANTS OF PETITION FOR EXONERATION FROM OR
                        LIMITATION OF LIABILITY

       Notice is hereby given that GRACE OCEAN PRIVATE LIMITED, as Owner of the M/V

DALI and SYNERGY MARINE PTE LTD, as Manager of the M/V DALI (the “Vessel”), have

filed a Petition pursuant to 46 U.S.C. §§ 30501, et. seq., claiming the right to exoneration from or

limitation of liability for all claims and damage incurred during or arising out of the Vessel’s

voyage commencing on or about March 26, 2024 from Baltimore, Maryland bound for Colombo,

Sri Lanka with an ultimate destination of Yantian, China and her allision with the Francis Scott

Key Bridge in Baltimore (the “Casualty”).

       All persons having such claims must file them with the Clerk of this Court at the United

States Court House, 101 West Lombard Street, Baltimore, MD 21201 no later than September 24,

2024. Such claims must be served upon Petitioners’ attorneys, BLANK ROME LLP and DUANE

MORRIS LLP, contact information for whom is listed below. Personal attendance at the Court is
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not required, but failure to file claims with the Clerk and failure to serve claims upon Petitioners’

attorneys will result in default.

         Any claimant who files a claim with this Court and wishes to contest the allegations in the

Petition must file an answer to said Petition and serve such answer upon Petitioners’ attorneys.


Dated:          Baltimore, Maryland
                April __, 2024


                                                      __________________________
                                                      Clerk of the Court
                                                      U.S. District Court for the District of
                                                      Maryland

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